               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION

                     CRIMINAL CASE NO. 2:11cr22-11


UNITED STATES OF AMERICA,                 )
                                          )
                                          )
                  vs.                     )     ORDER
                                          )
                                          )
LARRY MICHAEL WATKINS.                    )
                                          )


       THIS MATTER is before the Court on the Government’s Motion for

Reconsideration of Denial of Preliminary Order of Forfeiture [Doc. 268], filed

August 2, 2012.

I.     PROCEDURAL BACKGROUND

       On September 20, 2011, the Defendant was charged, along with ten co-

defendants, with one count of conspiracy to possess with intent to distribute

a quantity of methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and

846. [Doc. 74]. The Bill of Indictment includes a Notice of Forfeiture and

Finding of Probable Cause by the grand jury, providing that the Government

intended to seek forfeiture of all property used to or intended to be used to

facilitate the charged violation, all proceeds thereof, and any substitute

property, including $3,856.00 in United States Currency and real property



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located at 140 Sherrill Road, Bryson City, North Carolina (“Sherrill Road

property”). [Id. at 2-3].

      On December 12, 2011, the parties filed a Plea Agreement in which the

Defendant agreed to enter a voluntary plea of guilty and to forfeit his interest

in the property referenced in the Bill of Indictment. [Doc. 146 at 1, 3]. The

Defendant specifically stipulated that he “has or had a possessory interest or

other legal interest in each item or property” listed in the Bill of Indictment. [Id.

at 3]. The Court accepted the Defendant’s guilty plea on January 10, 2012.

[Doc. 165].

      On March 9, 2012, the Government moved for the entry of a Preliminary

Order of Forfeiture, citing the allegations of the Bill of Indictment, the

stipulations set forth in the Plea Agreement, and the Defendant’s plea of guilty

and consent to the proposed forfeiture. [Doc. 214]. On April 17, 2012, the

Court denied the Government’s Motion without prejudice, concluding that “the

Defendant’s consent alone does not establish the requisite nexus” between

the property to be seized and the offense of conviction. [Doc. 220 at 3].

      On June 11, 2012, the Government renewed its Motion for a Preliminary

Order of Forfeiture.        [Doc. 262].   In support of its renewed motion, the

Government submitted the Affidavit of Dan Guzzo, a Special Agent with the



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Drug Enforcement Administration. [Doc. 262-1]. While the Court found that

Special Agent Guzzo’s Affidavit provided a sufficient factual basis for the

finding that the Sherrill Road property was “used, or intended to be used, in

any manner or part, to commit, or to facilitate the commission of, such

violation” within the meaning of 21 U.S.C. § 853(a)(2), the Court concluded

that the Government had failed to establish that the Sherrill Road property

was the Defendant’s property as required by 21 U.S.C. § 853(a)(2) and

therefore denied the Government’s Motion for Preliminary Order of Forfeiture

again without prejudice. [Doc. 266].

        On August 2, 2012, the Government filed the present motion, seeking

reconsideration of the Court’s Order denying the Government’s request for a

preliminary order of forfeiture. [Doc. 268].

II.     ANALYSIS

        At the outset, the Government contends that it is not obligated to offer

any evidence of the Defendant’s interest in the property in order to obtain a

preliminary order of forfeiture and that it was sufficient for the Government to

establish that the subject property was used to facilitate the underlying

offense. [Doc. 268 at 1-2]. The Government’s contention is incorrect. In

order to establish its entitlement to forfeiture of the Sherrill Road property, the



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Government must establish that the property constitutes “any of the person’s

property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of, such violation.” 21 U.S.C. § 853(a)(2). Because

the Government failed to offer any evidence to demonstrate that the subject

property was in fact the Defendant’s property, the request for a preliminary

order of forfeiture was properly denied.

      The Government now has submitted a copy of a deed filed in Swain

County, North Carolina 1 on February 18, 2005, showing that the Defendant

was the record owner of the subject property. [Doc. 268-1]. The Court finds

that this deed provides a sufficient factual basis for the Court to find that the

Defendant had some interest in the Sherrill Road property, which interest

constitutes “the [Defendant’s] property” as required by 21 U.S.C. § 853(a)(2).

Based upon this evidence, as well as Special Agent Guzzo’s Affidavit

regarding the issue of nexus, the Court concludes that the Sherrill Road

property is subject to forfeiture pursuant to 21 U.S.C. § 853(a)(2); that the




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       The Government incorrectly asserts that the deed was recorded in Haywood
County, North Carolina, but the document reflects its recordation in Swain County.
Since the property address is in Bryson City, which is in Swain County, if the
Government were correct that the deed had been recorded in Haywood County, then
the Government’s entitlement to the entry of this Order would be subject to question.
See N.C. Gen. Stat. § 47-18(a).

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Government has established the requisite nexus between such property and

such violation; and that the Defendant has or had an interest in the property.

III.     CONCLUSION

         Accordingly, IT IS, THEREFORE, ORDERED:

         1.   The Government’s Motion for Reconsideration of Denial of

Preliminary Order of Forfeiture [Doc. 268] is GRANTED, and the following

property is hereby forfeited to the United States for disposition according to

law, subject to the provisions of 21 U.S.C. § 853(n):

              Real property located at 140 Sherrill Road, Bryson
              City, Swain County, North Carolina, as more
              particularly described in a deed recorded at book
              00302, page 0292, in the Swain County, North
              Carolina, public registry.

         2.   The Attorney General (or a designee) is authorized to seize the

forfeited property subject to forfeiture; to conduct any discovery proper in

identifying, locating, or disposing of the property; and to commence

proceedings that comply with any statutes governing third party rights. Fed.

R. Crim. P. 32.2(b)(3).

         3.   Pursuant to 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6) of the

Federal Rules of Criminal Procedure, the United States shall post on an

official government internet site (www.forfeiture.gov), for at least thirty (30)



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consecutive days, notice of this Order and of its intent to dispose of the

property in such a manner as the United States may direct. The United States

may also, to the extent practicable, provide direct written notice of this

forfeiture to any person who reasonably appears to be a potential claimant

with standing to contest the forfeiture in an ancillary proceeding.

      4.     Any person, other than the Defendant, having or claiming a legal

interest in the above-listed forfeited property may, within thirty (30) days of the

final publication of notice or of receipt of actual notice, whichever is earlier,

petition the Court for a hearing without a jury to adjudicate the validity of the

petitioner’s alleged interest in the property, and for an amendment of the

Order of Forfeiture pursuant to 21 U.S.C. § 853(n). The petition shall be

signed by the petitioner under penalty of perjury and shall set forth the nature

and extent of the petitioner’s right, title or interest in the forfeited property; the

time and circumstances of the petitioner’s acquisition of the right, title, or

interest in the property; and any additional facts supporting the petitioner’s

claim and the relief sought. 21 U.S.C. §§ 853(n)(2) and (3).

      5.     After the disposition of any motion filed under Rule 32.2(c)(1)(A)

of the Federal Rules of Criminal Procedure and before a hearing on the

petition, discovery may be conducted in accordance with the Federal Rules



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of Civil Procedure upon a showing that such discovery is necessary or

desirable to resolve factual issues.

      6.     Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal

Procedure, upon entry of this Preliminary Order of Forfeiture, the United

States Attorney’s Office is authorized to conduct any discovery needed to

identify,   locate   or   dispose   of   the   property,   including    depositions,

interrogatories, requests for production of documents, and to issue subpoenas

pursuant to Rule 45 of the Federal Rules of Civil Procedure.

      7.     This Preliminary Order of Forfeiture shall become final as to the

Defendant at the time of sentencing and shall be made part of the sentence

and included in the Judgment. If no third party files a timely claim, this Order

shall become the Final Order of Forfeiture, as provided by Rule 32.2(c)(2) of

the Federal Rules of Criminal Procedure.

      8.     Upon adjudication of third-party interests, if any, this Court will

enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(n) and Rule

32.2(c)(2) of the Federal Rules of Criminal Procedure.

      9.     The Court shall retain jurisdiction to enforce this Order and to

amend it as necessary, pursuant to Rule 32.2(e) of the Federal Rules of

Criminal Procedure.



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  IT IS SO ORDERED.

                                    Signed: August 27, 2012




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